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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BLUEFIELD

LYDELL ANTHONY COLLIER

     Plaintiff,

v.                                       CIVIL ACTION NO. 1:07-0281
                                         (Criminal No. 1:06-00072-02)

UNITED STATES OF AMERICA,

     Defendant.

                      MEMORANDUM OPINION AND ORDER

       By Standing Order, this action was referred to United

States Magistrate Judge R. Clarke VanDervort for submission of

findings and recommendations regarding disposition pursuant to 28

U.S.C.A. § 636(b)(1)(B).      Magistrate Judge VanDervort submitted to

the court his Findings and Recommendation on June 14, 2010, in

which he recommended that the District Court deny plaintiff’s

motion under 28 U.S.C. § 2255 to vacate, set aside, or correct

sentence by a person in federal custody, and remove this matter

from the court’s docket.

       In accordance with the provisions of 28 U.S.C.A. § 636(b),

the parties were allotted fourteen days, plus three mailing days,

in which to file any objections to Magistrate Judge VanDervort’s

Findings and Recommendation.        The failure of any party to file

such objections constitutes a waiver of such party's right to a de

novo review by this court.      Snyder v. Ridenour, 889 F.2d 1363 (4th

Cir. 1989).
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       The parties failed to file any objections to the Magistrate

Judge's Findings and Recommendation within the requisite period.

Having reviewed the Findings and Recommendation filed by

Magistrate Judge VanDervort, the court adopts the findings and

recommendations contained therein.        Accordingly, the court hereby

DENIES plaintiff’s motion under 28 U.S.C. § 2255, and directs the

Clerk to remove this case from the court’s active docket.

       Additionally, the court has considered whether to grant a

certificate of appealability.       See 28 U.S.C. § 2253(c).             A

certificate will not be granted unless there is “a substantial

showing of the denial of a constitutional right.”               28 U.S.C. §

2253(c)(2).    The standard is satisfied only upon a showing that

reasonable jurists would find that any assessment of the

constitutional claims by this court is debatable or wrong and that

any dispositive procedural ruling is likewise debatable.                  Miller-

El v. Cockrell, 537 U.S. 322, 336-38 (2003); Slack v. McDaniel,

529 U.S. 473, 484 (2000); Rose v. Lee, 252 F.3d 676, 683-84 (4th

Cir. 2001).    The court concludes that the governing standard is

not satisfied in this instance.       Accordingly, the court DENIES a

certificate of appealability.

       The Clerk is directed to forward a copy of this Memorandum

Opinion and Order to plaintiff and counsel of record.

       IT IS SO ORDERED this 7th day of July, 2010.

                                     ENTER:

                                              David A. Faber
                                              Senior United States District Judge
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